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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

CHAMBERS OF 101 WEST LOMBARD STREET
.l. FREDER]CK MOTZ BALT]MOR_E, M.ARYLAND 2120|
UNITED STATES DISTR[CT JUDGE (4]0) 962-0782

(410) 962-2693 FAx

October 8, 2015
MEMO TO COUNSEL RE: Franch Shaw v. Pfizer, Inc., et al.
Civil No. JFM-l4-454
Dear Counsel:
l have lost track of the status of this case.
l believe that everyone has agreed that l should enter plaintiff’s motion for partial final
summary judgmentl Accordingly, I ask counsel for plaintiff to submit a proposed order for my

signature on or before October 15, 2015.

By the same date (Oetober 15, 2015) I advise anyone who opposes the motion to So
advise me.

Despite the informal nature of this letter, it should be flagged as an opinion and docketed
as an order.

Very truly yours,

/l?%

J. Frederick Motz
United States District Judge

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